Case 07-21631-JKS           Doc 1649     Filed 04/17/23 Entered 04/17/23 15:38:48                    Desc Main
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)

 Nathan and Miriam Barnert Memorial Hospital
 Association d/b/a Barnert Hospital




                                                                      Case No.:       _______________
                                                                                         07-21631
  In Re:

 Nathan Miriam Barnert Memorial Hospital                              Adv. Pro. No.: _______________

                                                                      Chapter:        _______________
                                                                                            11

                                                                      Subchapter V:       Yes  No

                                                                      Hearing Date: _______________
                                                                                      03/21/2023

                                                                      Judge:          _______________
                                                                                      John K. Sherwood

                                        ADJOURNMENT REQUEST

 1.        I, ___________________________________,
                         John P. Fazzio
            am the attorney for: ______________________________________________________,
                                                      CHA Partners
            am self-represented,

           and request an adjournment of the following hearing for the reason set forth below.
                   Motion for Turnover of Property filed by liquidating trustee
           Matter: ________________________________________________________________________
                                          03/21/2023 at 10:00 AM
           Current hearing date and time: ____________________________
                               05/09/2023
           New date requested: ____________________________________
                                           Law firm just retained
           Reason for adjournment request: ___________________________________________________

           ______________________________________________________________________________
 2.        Consent to adjournment:

            I have the consent of all parties.      I do not have the consent of all parties (explain below):
           ______________________________________________________________________________

           ______________________________________________________________________________
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 I certify under penalty of perjury that the foregoing is true.


        04/17/2023
 Date: ___________________________                           /s/ John P. Fazzio
                                                             _______________________________
                                                             Signature




 COURT USE ONLY:

 The request for adjournment is:

  Granted                                            5/9/2023 @ 10:00 am
                                   New hearing date: ________________________           Peremptory

  Granted over objection(s)       New hearing date: ________________________           Peremptory
  Denied


           IMPORTANT: If your request is granted, you must notify interested parties
           who are not electronic filers of the new hearing date.




                                                                                               rev.10/2021

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